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 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-00010 MCE
12
                                 Plaintiff,             AMENDED STIPULATION AND ORDER TO
13                                                      CONTINUE STATUS CONFERENCE, AND TO
                           v.                           EXCLUDE TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND                                 DATE: October 19, 2017
15   STARSHEKA MIXON,                                   TIME: 9:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
16                               Defendants.

17
18                                                STIPULATION

19         1.      By previous order, this matter was set for status on October 19, 2017.

20         2.      By this stipulation, defendants now move to continue the status conference until

21 December 14, 2017, and to exclude time between October 19, 2017, and December 14, 2017, under
22 Local Code T4.
23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)     The government has produced over 25,000 pages of discovery associated with this

25         case, including tax returns, bank and credit card statements, investigative reports, and other

26         documents. The government has also made electronic devices and physical evidence available

27         for review.

28                 b)     Defense counsels require additional time to discuss potential resolutions with their


      AMENDED STIPULATION RE: SPEEDY TRIAL ACT;         1
      ORDER
             Case 2:16-cr-00010-TLN Document 80 Filed 10/18/17 Page 2 of 3


 1        respective clients, including time to review the evidence and discuss any special offense

 2        characteristics that may apply and possible factual bases in support of a resolution. Specifically,

 3        defense counsels require additional time to review the discovery with their respective clients due

 4        to its volume and because the discovery, which contains personally identifiable and other

 5        protected information, is protected by a protective order that prohibits defense counsel from

 6        leaving the discovery with their respective clients.

 7                c)     Counsel for defendants believe that failure to grant the above-requested

 8        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 9        into account the exercise of due diligence.

10                d)     The government does not object to the continuance.

11                e)     Based on the above-stated findings, the ends of justice served by continuing the

12        case as requested outweigh the interest of the public and the defendant in a trial within the

13        original date prescribed by the Speedy Trial Act.

14                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15        et seq., within which trial must commence, the time period of October 19, 2017, to December 14,

16        2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code

17        T4, because it results from a continuance granted by the Court at defendants’ request on the basis

18        of the Court’s finding that the ends of justice served by taking such action outweigh the best

19        interest of the public and the defendant in a speedy trial.

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     AMENDED STIPULATION RE: SPEEDY TRIAL ACT;          2
     ORDER
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 2          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 4 must commence.
 5          IT IS SO STIPULATED.

 6
     Dated: October 17, 2017                         PHILLIP A. TALBERT
 7                                                   United States Attorney
 8
                                                     /s/ Shelley D. Weger
 9                                                   SHELLEY D. WEGER
                                                     Assistant United States Attorney
10
11 Dated: October 17, 2017                            /s/ Kelly Babineau
                                                      KELLY BABINEAU
12
                                                      Counsel for Defendant
13                                                    Starsheka Mixon

14
     Dated: October 17, 2017                         /s/ Matthew Bockmon
15                                                   MATTHEW BOCKMON
                                                     Counsel for Defendant
16                                                   Denna Chambers
17
18
                                                      ORDER
19
            IT IS SO ORDERED.
20
     Dated: October 17, 2017
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      AMENDED STIPULATION RE: SPEEDY TRIAL ACT;           3
      ORDER
